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     PAUL C. RAY, ESQ.
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5

6    Attorney for Plaintiff
     Ginger L. Simpson, Nye County
7    Public Administrator, as Administrator
     of the Estate of David P. Stevens
8
                               UNITED STATES DISTRICT COURT
9
                                       DISTRICT OF NEVADA
10

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12
     GINGER L. SIMPSON, NYE COUNTY
13
     PUBLIC ADMINISTRATOR, as Administrator
     of the ESTATE OF DAVID P. STEVENS,                  Case No. 2: 23 - cv -0 196 3-J A D -NJ K
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15
                                Plaintiff,
     vs.                                                    STIPULATION AND ORDER TO
                                                                EXTEND DISCOVERY
16                                                            SCHEDULING DEADLINES
17   BANK OF AMERICA,                                              SECOND REQUEST
18                              Defendant.
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22          Plaintiff Nye County Public Administrator, as Administrator of the Estate of David P.

23   Stevens (“Stevens Estate”), by and through her counsel of record, Paul C. Ray Chtd., and

24   Defendant Bank of America (“BANA”), by and through their counsel of record, John S.

25   Delikanakis and Michael Mestre, hereby stipulate and agree to extend the deadlines set forth in

26   the Discovery Plan pursuant to LR 26-3.

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     Case 2:23-cv-01963-JAD-NJK Document 29 Filed 05/31/24 Page 3 of 3




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2    DATED this 30th day of May, 2024.      DATED this 30th day of May, 2024.
3    PAUL C. RAY, CHTD.                     SNELL & WILMER LLP
4

5    By: /s/ Paul C. Ray                    By: /s/ John S. Delikanakis
     Paul C. Ray, Esq. (NV Bar No. 4365)    John S. Delikanakis, Esq. (NV Bar No.5928)
6
     8670 West Cheyenne Avenue, Suite 130   Michael Mestre, Esq.
7    Las Vegas, Nevada 89129                3883 Howard Hughes Parkway, Suite 1100
8    Attorney for Plaintiff                 Attorneys for Defendant
9

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12                                          IT IS SO ORDERED:
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15                                          United States Magistrate Judge

16
                                                      May 31, 2024
17                                          DATED:
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